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                                                 Certificate Number: 00134-TXW-CC-029173522


                                                                00134-TXW-CC-029173522




                      CERTIFICATE OF COUNSELING

  I CERTIFY that on May 1, 2017, at 8:29 o'clock AM CDT, Kimberly Kaye Miller
  received from Cricket Debt Counseling, an agency approved pursuant to 11
  U.S.C. § 111 to provide credit counseling in the Western District of Texas, an
  individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
  109(h) and 111.
  A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
  copy of the debt repayment plan is attached to this certificate.
  This counseling session was conducted by internet.




  Date:   May 1, 2017                            By:      /s/Esther Dominguez


                                                 Name: Esther Dominguez


                                                 Title:   Counselor




  * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
  Code are required to file with the United States Bankruptcy Court a completed certificate of
  counseling from the nonprofit budget and credit counseling agency that provided the individual
  the counseling services and a copy of the debt repayment plan, if any, developed through the
  credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
